Case 2:04-cr-20005-SH|\/| Document 50 Filed 06/20/05 Page 1 ot 2 Page|D 63 /

UNITED sTATEs DlsTRIcT CoURT g _ ` '
wEerRN I)ISTRICT oF TENNEssEE i f- .¢' "i i'? c- r;= ~:
Western Division

 

UNITEI) sTATEs oF AMERICA = ° "

-vs- Case No. 2:04cr20006-1-Ma
ease No. 2:04cr20005_1-Ma /

GEROME MILEY

AKA KASSIEM J. MILEY

 

ORDER OF DETENT|ON PENDING TRlAL
FiND|NGS
ln accordance with the Bail Reforrn Act, 18 U.S.C. § 3142(£), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

ARRAIGNMENT SET FOR WEDNESDAY, JUNE 22, 2005 AT 10:00 A.M.
DlRECTlONS REGARD|NG DETENT|ON

GEROME MILEY
AKA KASSIEM J. MILEY is committed to the custody of the Attomey General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal GEROME MILEY
AKA KASSIEM J. MILEY shall be afforded a reasonable opportunity for private consultation with defense counsel.
On order of a Court of the United States or on request of an attorney for the govemment, the person in charge of the

corrections facility shall deliver the Defendant to the United States marshal for the purpose of an appearance in
connection with a Court proceeding

 

Date: June l7, 2005

 

` rn M. PHAM
UNrrED sTATEs MAGISTRATE JUDGE

Th|s document entered on the docket_sheet In cogltanca
with Rute 55 andfor 32(b) FRCrP on “

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 50 in
case 2:04-CR-20005 Was distributed by faX, mail, or direct printing on
J unc 20, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

